           Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 1 of 48




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                                   UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19   IN THE MATTER OF THE SEARCH OF       )   Case No. 3:16-mc-80263-LB
     CONTENT STORED AT PREMISES           )
20   CONTROLLED BY GOOGLE INC. AND        )   REDACTED VERSION OF DOCUMENTS
     FURTHER DESCRIBED IN ATTACHMENT      )
21   A                                    )   ATTACHMENT TO STIPULATION REGARDING
                                          )   REDACTIONS
22                                        )
                                          )   (PART 3 of 5)
23                                        )
                                          )
24                                        )
                                          )
25

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     REDACTED VERSION OF DOCUMENTS
Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 2 of 48




                  EXHIBITD
    Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 3 of 48




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November 21, 2016                                                                                        "l'o~d M. l·lhmen
                                                                                              'J'Hinne11@.pcr~ln~coie.1=11m
                                                                                                     D. +l.206,3S9.338'l
VIA EMAIL                                                                                            I'. ·l·J.:Z06,3S9.il38'1

Asst. U.S. Attom~y William Frentzen
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William.Frentzen@usdoj.gov

Re:     ln the Matter of the Search of Content
        Controlled by Google Inc. nod Further Desc

Assistant U.S. Attorney Frentzen:

This letter seeks to sum111a1·ize Google's production of documents to date responsive to the
warrant issued by your office on June 30, 2016 (the "Wamrnt"), and to resolve any 1'emaining
issues 1·egarding that production. Google has prnduced ·aJI information that it is currently able to
produce conslstent with the preseht state of t11e Jaw. Below, please find (1) a description of the
information that Google has produced in l'esponse to the WaM'ant and (2) a clarification of the
portions of the Warrnnt with respect to which Google cannot currently produce records. Google
hopes this additional information clnriftes the status of its production in response to the Warrant
ana will serve as the basis for further engagement on these Issues, should it be necessary.

A.      Google's Production in Response to the Warrant

        1.       The July 2, 2016 Warrant

Google received the Warrant 011 July 2, 2016, The Wa11'ant directs Google to produce, with
respect to             Google accounts identified by email address, all electronic mail,
tt·ansactional information of all email and account activity, business records and subscriber
lnformation. ft also directs Google to identify "linked" accounts based on a variety of
factors. Finally, the Warrant re uests fo1• each of the             accounts, "all files, logs and
data associated with"                        ~'Google Services.,,



1
 Tbe warrant als9 ln61uded an ind0finite nondisclosure order, which is prcs1101ptively an unconstitutional prior
restraint. See In re Grand Jul'y Subpoena for: /Uedactedj@yahoo.co111, 79 F. Supp, 3d 1091, I 091 (N,D. Cal. 2015)
(holding lhat ith lndefinile non-disclosure order "woi..ild amount lo iln undue prior restraint of Ynhool 's First
Amendment right to infonn the public ofils role in searching and seizing its inform11tio[J[.]")
    Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 4 of 48




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Nove1nber 21, 2016
Page 2

         2,       Google's InJtial Production
In late September 2016,2 Google produced a total o                   flies containing the followi11g
information responsive to the Warrant for each of the

     •
                                                                 ----         accounts:

         basic subs~l'iber infol'111ation for each Google account, as well as any associated YouTi1be
         and Android accounts;
     •     list of accounts that shared an authentication cookie with any of the
         1:1
         accounts;
     •   contacts;
     •   native Google Drive files and metadata files associated with native and non~nalive
         Google D!'iye flies (which production includes d.ata responsive to the demand for
         ··Google;, Docs'');
     •   location history;
     •   seal'cb history (described in the warrant as "Web History"); and
     •   M(lp$.
Google also produced Gm ail content for all bu                          of these accounts bad been
purged long before Google received the Warrant an there was t 1erefore no Gmail content to
  l'Oduce. The content associ!!ted with the other     .accounts, identified by the email .addresses
                                   as stored exclusively outside the United States and was
t ere ·ore bcyon t e reac o a Stored Communications Act Warrant. See Matter of Warran/ to
Search a·Certaln E-Mail Account Controlled & Maintained by Microsoft Corp., 829 F.3d 197,
222 (2d Cir. 2016) ("Mltrosofl decision"). Consistent with the Microso.fi decision, Google also
did not produce any Gm ail attachments or Photos because they were not confirmed to he stornd
within the United States·.

         3.       Supplemental Production
Google has supplemented the production with additional header information associated with the
emails that had attachments for the accounts in the United States, the content of emails fo1· the
accounts in the United States, and Photos metadata. Google will produce Calendar metadata for
the accqunts in the United States as soon ;is Calehdar is available for pr9~1,1ction.


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  Processing the W11rr.u:it was complex und pro1racted because of the volume of data sought, the variety of services
to be searched, and significant new interpretations of applicable law announced shortly after the Warrant was
served, See Mqtler of Warrant lo Seal'ch a Cel'/a/11 E-Mail Account Contro/fed & Maintained ~)I Microsoft Co1p.,
819 F.3d 197, 2.22 (2d Cir. 2016),
    Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 5 of 48




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November 21, 2016
Page 3


B.             Google's Objections to the Warrant

Google did not produce certain data demanded in the Warrant and objects to the Warrant to the
extent it encompasses those demands as further explained below.

               1.    Google Cannot Produce Data Stored Overseas to U.S. Law Enforceµient

 While Google produced all information it confirmed to be stored in the United States, Google did
 not produce other data because a warrant issued under the Stored Communications Act ("SCA"),
  18 U.S.C. § 2701, et seq. can only extend to data stored within the United States. See Microsoft,
. 829 F .34 at 222 ("[T]he SCA does not authorize a U.S. court to issue and enforce an SCA
'warrant against a United States-based service provider for the contents of a customer's electronic
  communications stored on servers located outside the United States.").3 The SCA generally
 prohibits a provider from disclosing. to the government that which it has not been compelled to
 produce pursuant to legal process authorized by section 2703. See 18 ns.c. 2702(a)
  (prohibiting voluntary disclosure of content or records and other information to a government
 entity absent a specific statutory authorization).

               2.    The Warrant Is Overbroad and Lacks Particularity With Respect to Certain
                     Google Services

The Warrant requested "all" data "associated with" a laundry list of nearly every Google service,
for every identified account. These are the sorts of "catchall phrase[s]" and boilerplate
descriptions, United States v. Clark, 31 F.3d 831, 836 (9th Cir. 1994), that tend to reflect
overbreadth and lack of particularity. Google is concerned with respect to many of the services
identified that the magistrate issuing the warrant may not have been "fully apprised of the scope
of the search" and could not have "[made] the determination that the search in all of its
dimensions is based upon probable cause and particular descriptions." U.S. v. Hillyard, 677 F .2d
1336, 1339 (9th Cir. 1982). Google's concern is rooted in both specific issues that apply to
particular services and to the generic nature of the Warrant, requesting the same data for the
same services for the same time period for a significant number of different accounts. In
Google's experience, that is not how different users consume Google's services.


3
  Although the Microsoft case was decided in the Second Circuit, it remains the only case to consider the issue of
whether producing data stored overseas is consistent with the SCA and it has concluded it is not Accordingly, it
carries heavy persuasive weight. See Herbst v. Cook, 260 F.3d 1039, 1043 (9th Cir. 2001) (finding the rationale of
the Second Circuit to be persuasive on matter of:first impression in the Ninth Circuit); cf Fang Lin Ai v. United
States, 809 F.3d 503, 507 (9th Cir. 2015) (finding persuasive a Federal Circuit holding on a "materially
indistinguishable" matter, particularly where a "circuit split would create two mutually exclusive rules applicable to
[a governmental entity], leading to uncertainty and obvious forum shopping opportunities.") As such, Google
cannot in good faith comply with a warrant requesting information stored outside the United States. See 18 U.S.C.
§2707(e) (providing immunity for "good faith reliance" on a warrant).



 Perkins C:010 LLP
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Novembef21, 2016
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Google's specific concerns include the fact that some of the "services" identi'Fied in the Warrant
either do not exist or do not hold data. For example GA Plus, Google Apps, Dasher Policy, and
the Apps Administrator Control Panel are not services or pl'oducts offered by Google, but rather
flags related tb enterprise accounts. They do not hold any specific type of data. Moreover,
Google Talk is a service that was det>recated in early 2015.
For other services identified in the Warrant, including_Google M!lps, Google Sync, Google
AnaJyiics, Webm_aster Tools, and Ad Words, it is not clear given the nature of the services n11d
the type of data associated with them (and the Warrant does not specify) what type of data is
being sought. For example, records associated with Maps could relate to a user's map searches
(which Google produced), or they could refer to reco1·ds related to other, unnamed servlces that
tangentially involve Maps (which Google did not prod1Jce). Analytics, meanwhile, is a service
available to users that host websites on Google that provides details about the visitors to those
websites (such 11s the numbe1· of visltol's, the 1•efel'l:i11g websites, the regions where visitors are
located, etc.) and allows the user to generate reports, and it is not clear without greater specificity
what records are sought. Neither service has n discrete set of"records" to easily produce;
i11stead 1 Google requires greater specificity about what, precisely. is being sought in order to
conduct a search for responsive records related to these services; The Warrant thus Jacks clarity
regarding the dispaJ'ate nature of the data associated wilh each se.rvice. Even a$surning that the
government demonstrated pl'obable cause with respect to each of these services, the Warrant did
hot inclµde direction with respect to them "specific enough to enable the person cortducting the
sea1·ch to reasonably identify the things authorized to be seized,,' United States v. Spilot1'0, 800
F.2d 959, 963 (9th Cir. 1986). Such spedficity is impottant to guide the pB.l1y conducting the
search, to prevent "rummaging through a pers011ts belongings" ~d to ''ensureO that the
magistrate issuing the wammt .. , [has} accuri:itely detennin~ld] whether the entire search is
supported by probable cause. Id.                                        ·

        3;     The Government Must Demonstrate Probable Cause With Respect To Each
               Service As That Service Applies To Each Use1·, Which Could Not Have
               Happened llcre

                                            s gest, it is unlikely that the govemmenl demonstrated
 probable cause that each of the               dlffet·ent accounts used each of the services identified
 for the same period of time, an t at t e records contained within each such service would
contain the frnits, instl'Umentalities; or evidence of a c1·.ime. Such a --particular showit1g is
,requil'ed with respect to each user for each service to be searched. At the ve1·y least, there cannot
 have been probable cause to believe that 1'services" that hold no user data contained evidence.

It is Hkely, instead., that the Warrant is simply overbroad and lacking in particularity with respect
to some se1'Vices, see Ant!resen v. Maryland, 427 U.S. 463, 480, 96 S.Ct. 2737, 2747, 49 L.Ed.2d
627 (1976); Spiloh·o, 800 F.2d at 963 (9lh Cir. 1986); in ~ mnru1er that wo.uld be difficult fol' the
    Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 7 of 48




  Asst. U,$, Attorney William Frent:z:en
  November 21, 2016
  Page 5

  magistrate to understand and appreciate in an ex parte proceeding. Accordingly, Google did not
  ptoduce content or Mn-content information associated w.ith Sync, Analytics! GA Plus,
  Developer Console, Webmaster Tools, AdW01·ds, Google Apps, Dasher Policy, ot· Apps
  Administl'ator Control panel.                                               ·

  [n short, the Warrant authorized a general search ofall of the on line activily of
  accounts in most ct1ses for a pel'iod of more than                  ears ac1·oss nearly a I ot
  Google's products and services. Google has pro uce , or w1Tl s ortly produce. all the material it
  can consistent with applicable laws. Google has also sought to maintain an open and
  constructive dialogue with you 1'egarding its production. As explained above, however, the
  Wan·ant encompassed some se1·vices and some categories of documents that Google cannot
  prnducei consistent with applicable laws: As has been the case since Google received the
  warrant, Google would welcome the opportunity to discuss further with the government
  particular services or requests or ways to narrow the Warrant consistent with applicable
  laws. Please do not hesitate to contact me if such a discussion wouJd be helpful.

  Very tn1ly yotn·s,

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 Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 8 of 48




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13                                UNITED STA TES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

JS
16                                              Case No. 3-16-70816
17
                                                [Proposed) Ot•der Granting Google Inc.'s
18                                              Motion to Quash or Amend Search Warrant
19                                              Under Seal
20                                              Judge:       Hon. Laurel Beeler,
21                                                           U.S. Magist1·ate Judge

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                                             - [PffOPOSED] ORDER ORANTTNO MOTJON TO QUASI-I
                                                                           Cose No, 3-16-708]6
 Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 9 of 48




            The Court, having cohsidered Google l11c.'s Motion to Quash or Amend Search Watrnnt,
 2   the pleadings hi=il'ein, and the papers filed in support of and in opposition to the motion, and being
 3   fully advised of the premises, now hereby,
 4          ORDERS that Google's Motion to Quash the Warrant is GRANTED. The Warrant is
 5   quashed to the extent it seeks records which cannot be confirmed to be stored in locations within
 6   the Uniled States, See Matter ofWmrnnt to Sea1'ch a Certain E-Mail Account Con/rolled &
 7   Maintained by Microsoft Corp,, 829 P.3d 197,222 (2d Cit', 2016) ("Miol'Osofl"). As explained in
 8   Microsqft, 18 U.S.C. § 2703(a) has no extraterritorial application, and warrants issued pursuant
 9   thereto cannot seek iafo1mation that is not con finned to be stored within the United States.
IO           With respect to the remainder of records sought by the Warrant, the government is
11   directed to submit a new wal'raht artd supporting affidavit establishing pl'obable cause to search
12   each of the     cilfferent sets of record      ervices, as used by     ifferent accounts) that the
13   gover1tment seeks from Google. The Comt will thet·eaflet consider the government's renewed
14   application and issue an order as appropriate.
15

16                                                           Hon. Laurel Beeler
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                                                      [PROPOSBD] ORDER GRANTING MOTION TO QUASH
                                                                                 Case 'No. 3-16-701116
Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 10 of 48




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13
                                    NORTHERN DISTRICT OF CALIFORNIA
14
IS
16                                                 Case No. 3-] 6.;70816

J7
                                                   Google Inc. 's Admlnistratlve Motion to File
18                                                 Under Seal            ·
19                                                 Under Seal
20                                                 Judge:       Hon. Laurel Beeler,
21
                                                                U.S. Magistrate Judge·

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                                                    ADMlNISTRATIVE MOTION TO FLLB UNDER $BAL
                                                                             CaseNoi 3-16-70816
Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 11 of 48




               Consist~1Jt with L. Cr. R. 56-1 (b}(c) and prior order from this Court, Nein-Party Google
  2     lrtc. ("Gqogle'') moves fot leave to file its Motion to Quash or Amend a Seatch War.rant (i.Motion
   3    to Quash") and supporting documents, filed concurrently herewith, under seal. Google's Motion
  4     to Amend seeks to quash oi' amend a search watrant issued to Googi~. See DecL of John Ty1er in
  5     Support of Motion to Quash of Amend Search Wanant and Administrative Motioti to File Under

  6     Seal ("Tyler DecU'),   Ex. A. The warrant is subject to ·l'i. sealing ordet requirh1g that all papers
  7     submitted to the Court with respect thereto be filed under seal. Id. Because Google isrequired to
  8     file under seal by prior order ofthis Court, Google respectfully requests thatthis Court grant its
  9     motion to file under seal.
10

1·.1.   DATED: December (j, 2015                             PERKINS com LLP
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                                                             By:   q~                ·'t -   --:S-·~---
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                                                             A0MlN1STRATlVE MOTION TO FU,E UNDER SEAL
                                                                                      Cas.eNo. 3-16-70816·
Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 12 of 48




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)3                                UNJTBD STATES DISTRICT COURT

14
                                 NORTHERN DISTRICT OF CALIFORNIA

15

16                                              Case No, 3-16-708,16

17
                                                 [Proposed] Order G1•a,nting Google Inc.'s
18                                               Administrntive Motion to File Under Seal
19                                               Under Seal
20                                              Judge:        Hon. Laurel Beeler,
21
                                                              U.S. Magistrate Judge

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28
                       [PROPOSED] ORDER GRANTING ADMIN1STRA TIVE MOTION TO Fll,E UNDER SEAL
                                                                                Case No. 3-16-70816
Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 13 of 48




 1          Consistent with L.Cr.R. 56-l(b)-(c), prior order of this Court, and for the reasons set forth

 2   in the mqving papers, the Court hereby grants Non-Party Google Inc. 's Administrative Motion to

 3   File Under Seal.

 4          IT IS HEREBY ORDERED that all papers submitted in support of or opposition to

 5   Google's Motion to Quash or Amend a Search Warrant.in the above- numbered matter be filed in

 6   the Office of the Clerk of Court under seal, together with this Order and Motion for Order, and

 7   shall not become matters of public record until further order of the Court.

 8

 9                                                          Hon. Laurel Beeler
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                        [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                           Case No. 3-16-70816
     Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 14 of 48




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13                                    UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15

16                                                 Case No. 3-16-70816
17
                                                   PROOF OF SERVICE
18
                                                   Under Seal
19
                                                   Judge:       Hon. Laurel Beeler,
20                                                              U.S. Magistrate Judge
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                 Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 15 of 48


        7
's',I




             1                                          PROOF OF SERVICE

             2            I, Winnie W. Hung, declare:

             3            I am a citizen of the United States and employed in Santa Clara County, California. I am

             4     over the age of eighteen years and not a party to the within-entitled action. My business address

             5     is 3150 Porter Drive, Palo Alto, California 94304-1212. On December 6, 2016, I served a copy

             6     of the within document(s):

             7                    GOOGLE INC.'S MOTION TO QUASH OR AMEND
                                  SEARCH WARRANT                         .
             8
                                  [PROPOSED] ORDER GRANTING GOOGLE INC.'S
             9                    MOTION TO QUASH OR AMEND SEARCH WARRANT
            10                   GOOGLE INC.'S ADMINISTRATIVE MOTION TO FILE
                                 UNDERSEAL
            11
                                  [PROPOSED] ORDER GRANTING GOOGLE INC.'S .
            12                    ADMINISTRATIVE MOTION TO FILE UNDER SEAL
            13                    DECLARATION OF JOHN R. TYLER IN SUPPORT OF
                                  NON-PARTY GOOGLE INC.'S MOTION TO QUASH OR
            14                  . AMEND SEARCHWARRANT AND ADMINISTRATNE
                                  MOTION TO FILE UNDER SEAL
            15
                                 PROOF OF SERVICE
            16
                                 by personally delivering the document(s) listed above to the person(s) at the
            17                   address(es) set forth below. For a party represented by an attorney, delivery was
            18                   made (a) to the attorney personally; or (b) by leaving the documents at the
                                 attorney's office, in an envelope or package clearly labeled to identify the attorney
            19                   being served, with a receptionist or an individual in charge of the office.

            20
                          William Frentzen, AUSA
            21            U.S. Attorney's Office
                          450 Golden Gate Ave
            22
                          San Francisco, CA 94102-3495
            23

            24            I declare that I am employed in the office of a member of the bar ofthis court at whose

            25     direction the service was made.

            26

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     Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 16 of 48




1           Executed on December 6, 2016, at Palo Alto, Califo~nia.
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       Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 17 of 48




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     United States Attorney .
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   BARBARA VALLIERE (CABN 147374)
 3 Chief, Criminal Division
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10
                                     UNlfED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13
14   rn the Matter of the Search o_f Conten
                    Stored at the Premises
15 Controlled by Google Inc. and Further
                                              --~   Case No, 3:16-mc..80263·LB


   Described in Attachment A                      ) UNITED STATES' NOTICE OF STATUS AND
16                                                  SUGGESTED SCHEDULE FOR BRIEFING AND
                                                    HEARING
17
18
19
20
     - -------------                             I  FILED UNDER SEAL




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     U,S, NOTICE.OF STATUS
            Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 18 of 48


·'~




       1           This filillg   is in response to the Court1s Order. The govenm1ent and Google were already in
       2 consultation regarding a11 appropriate schedule when the Court's Order issued, but due to the holidays

       3 had been unable to reach a final agreement regarding scheduling. Because undersigned counsel AUSA

       4 Fre_ntzen wi11 be engaged h1 trial before the Honorable Di,strict Court Judge Richard Seeborg beginning
       5 on January 9, 2017, the date selected by Google for the hearing of January 19, 2017, will not work for·
       6 the government. The parties have consulted and are jointly recommending to the Court the following

       7 schedule:
       8 Government's Response                             January 13, 2017

      9    Google's Reply                                  January 30, 2017

      10 Hearing Date                                      February 13 or 14, 2017 (at the Court's convenience)

      11           The parties hereby suggest that _the Court accept this as the schedule moving forward and that it

      12 notify the patties regarding the date for hearing that the Court prefers. 1 The government moves for the
      13   Court to file this document UNDER SEAL given the i1at111·e of lhe subject matter and the original filing

      14 having been made UNDER SEAL. The government will serve Google in compliance with the C.ourt's
      15 Order.'
      16 Dated: January 10, 2017                                         Respectfully submitted,

      17
                                                                         BRJAN J. STRETCH
      18
      19                                                                ·1
                                                                         William Frentzen
      20
                                                                         Kathryn Hatm
      21                                                                 Merry Jean Chan
                                                                         Assistant United States Attorneys
      22
      23

      24
      25    ·    1 The government is aware that on January 9, 2017, Google - after filing this matter with this
         Court - has filed a notice that it does not consent to have the matter heard by a Magistrate Judge
      26 pmsuant to 28 U.S.C. § 636(c). The governmerit understands that statute to apply to civil matters, not
         criminal matters and believes that th.is Court has the background and jurisdiction to handle this matter.
      27 Shot1ld this Court disagree with the gove1mnent, then the government requests that the matter be
         referred immediately to the current duty District Court Judge, Hon. Richard Seeborg, who additionally
      28 has familiarity with the subject matter from his handling of the case of United States v. Carl Force and
         Shaun Bridges, 15-CR-319 RS.
           U.S. NOTICE OF STATUS
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             IT IS HEREBY ORDERED, that for good cause shown this document shall be tiled and
  2 maintained UNDER SEAL until further order of this Court. The Court adopts the parties' schedule and

  : sets the .matter fur hearing on Februruy 16, 2017 at 10:30 , . , , . , /


  5 Date: January ll, 2017
                                                        - ~
                                                          -  - - - - (
                                                                     - ------
                                                        HON. LAUREL BEELER
  6                                                     UNITED STATES MAGISTRATE JUDGE
                                                        NORTHERN DISTRICT OF CALIFORNIA
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       U.S. NOTICE OF STATUS
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               2
               3.
               4                                   UNITED STATES DISTRICT COURT
               5                                 NORTHERN DISTRICT OF CALIFORNIA
               6
                              ~  e ft e Search of Content
               7                                                        · Case No. l 6-.mc~80263-LB
                     ~---~~......._. hat is Stored at the                 lflSEALED"'
               8       Premises Controlled by Google Inc. and
                     ' Further Described in Attachment A                CERTIFICATE OF SERVICE
               9
              to
              11
        m     12
ire
 0     ,£     13
                            11 the ~dersigned, hereby certify that I am an employee ln the Office of the Clerk, U.S.
                     District Court, Northern District of California,
~~
'.E    c.;.   14
,!!I    0                  That on Jartuary 11, 2017, I SERVED ~ true and correct copy(ies) of the attached, by
0 ti          15 ' placing said copy(ies) in a postage paid envelope addressed to the person(s) hereinafte1· listed, by
i'i
.fl ....           depositing said envelope in the U.S. Mail, or by placing said copy(ies) Into an inter-office deUvery
r;,:)Q ·      16   receptacle located in the Clerk's office.
] ~           17
·ai
~ -
  z           18
                            Julie Brih Schwartz
                            Perkins Coie; LLP
                            31 SO Porter Drive
              19            Palo Alto, CA 94304
              20            William Frentzen
              21
                            Assistant United States Attomey
                            450 Golden Gate Avenue, Box 360SS
              22            San Francisco, California 94102-3495
              23 '
              24     Dated: January 11, 2017 .

              25
              26
              27
              28
              Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 21 of 48


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  ,,,




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      16
                                         NORTHERN DISTRICT OF CALIFORNIA
      17
                                                 SAN FRANCISCO DIVISION
      18

      19     IN RE: SEARCH WARRANT FOR                          ) Case'No. 3: 16-mc -80263 (LB)
             PRODUCTION BY GOOGLE ISSUED ON                     )
      20     JUNE 30, 2016                                      )
                                                                ) UNITED STATES' OPPOSITION TO MOTION TO
      21                                                        )   QUASH, MOTION TO COMPEL COMPLIANCE
                                                                )   WITH THIS COURT'S ORDER AND FORAN
      22                                                        )   ORDER TO SHOW CAUSE FOR
                                                                )   NONC.OMPLIANCE WITH FEDERAL COURT
      23                                                        )   ORDER, AND [PROPOSED] ORDER
                                                                )
      24                                                        )
                                                                              FILED UNDER SEAL
       25
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       27'

       28

             U.S. OPP, AND MOT. TO SHOW CAUSE
          Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 22 of 48




  1                                               INTRODUCTION
 2            The Uluted States hereby opposes t11e Motio1i to Quash filed by Google, Inc. (hereafter
      4
 3    'Google11), requests immediate pl'oduction of all data called for by this Court's properly issued searcl1
 4 warrant, and moves the Court for ru1 Order to Show Cause why Google should not be held in contempt
  5 for its failure to comply with a federal court order, namely a search warrant jssu~d by the 'I-Ionora~le
  6 Magistrate Judge Laurel Beel el' on June 30, 2016, The wa11ant issued -in connection with an ongoing

 7 investigation 'in   l!:;...:~~~~~~~~:L:S~~~
  8           This is not the first time that Google, as recipient of a search wanant order, has violated this
 9 Court's Orders. Google, which has not reviewed the affidavit in support of the search w.arrwit, has no
10 basis for challenging this Court's correct determinatkm that the ww.'l'ant complied with the particularity
11 requirement of the Fourth Amendment. It is apparent from the warrant that it particularly desc1·ibes the
12 places to be searched and the things to be seized.
13            Google also !'mproperly asserts that the Second Circuit's decision in J..1atter of Warrant to Search
14 a Certain E-Mail Account ContrQ/led & Mainta(ned by Micl'osoft Corpi 829 F.3d 197 (2d Cir. July 14,
15 2016) (4'Microsoft''), prohibits it :from maldng further disclosures than it has. Microsoft was wro~gly
16 decided, but Google has not even made a showing to support that Microsoft would apply to it.
17 .Accordingly, the government moves for the Motion to Quash to be denied. Should Google make some
18 showing that it might fall under the Mtcrosofl decision, the government would reques.t an evidentiary
19 hearing.
20            The search wa,;rant in this case was issued upo,n this Coutt 1s c!U'~l consideration of the

21 affidavit. 1t addresses a matter of ongoing Wld wide-l'eaohing criminal activity, wbioh is why the Court
22 9rdered Google to pvovide the materials "forthwith." Google ignored the Court's order.         By its own
23 recitation of the chronology of facts; Google decided to circumvenfthe Court'.s order _op. its own
24 ~uthority .and comply With only those portions with which it felt like complying. It did not raise its
  '
25 motion to quash the search warrant in a timely way. Its motion was filed Decemb~t 6, 2016,_five
26 .montl:is after the search warrant Wa$ issued, and nearly as long aftet Microsoft 'was decided.
27            Google tnust immediately produce all oft.he data called for by this Coutt's propedy lssue(l
· 28 search WatTant, and the govenunent moves the Court for an Order to Show Cause why Google shouid
      t!.S.,OPP. AND MOT, TO SHO.W CAUSE
              Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 23 of 48


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         1 not be held in contempt for its failure to comply with the warrant.

         2                                          FACTUAL BACKGROUND
         3           This Court has been presented with a similar situation before. In the matter of In Re Search of
         4 the Content of Gmail Account and In Re Search of the Content ofAccount Serviced by Google Voice,
         5 13-90556-MISC-LB (N.D. Cal. 2013), the government moved this Honorable Court to hold Google in
                                                                                                                           I
         6 contempt for failing to comply with a duly issued search warrant. Google's irresponsible failure to
         7 comply in that c~se resulted in the loss of material.evidence in connection with a murder investigation.
         8 S_ettlement Agreement, Doc. 23 (attached hereto a$ Exhibit A). In response to the Motion of the United

         9   States, Google negotiated the stipulated settlement attached hereto that purportedly represented a
        10 renewed effort by Google to comply with search warrants properly issued by courts. Not three years
        11   later, Google again takes the position that it, and not the Court, is the arbiter of the lawful scope of a
        12 search warrant.

        13          As noted above, on June 30, 2016, this Court issued the search warrant at issue. On July 6, 2016,
        14 Homeland Security Investigations Special Agent Michael Delaney served the warrant on Google, which
                                                                                                                                I
        15 called for execution by July 14, 2016. See Declaration of SA Delaney (attached hereto as Exhibit B).
        16 Google did not move to quash the warrant prior to the July 14 deadline, nor even shortly after that date,       ,I
                                                                                                                                l
        17 which coincided with the Second Circuit's decision in Microsoft. Id: IIi fact, Google did nqt file its          /l
                                                                                                                           I
        18 motion to quash until.five months later and after it had already announced that it would not comply with        i
        19 the Court's Order. Id.
                                                                                                                           1.
                                                                                                                           !
        20           On September 28, 2016, Google provided what it conceded was incomplete information                    I

        21 responsive to the warrant. Id On October 12, 2016, 2016, SA Delaney contacted Google and spoke                 II
                                                                                                                           I
                                                                                                                          ·I
        22 with a representative. Id Google indicated that it might not :further comply with aspects of the search         if
        23   warrant, apparently claiming the abiJity to sua sponte narrow the Court's Order based on the Microsoft             !"
        24 decision of-the Second Circuit. Id. The matter was subsequently taken up by outside counsel who                      J
                                                                                                                                I.
        25 incorrectly characterized the Court's Order as a "request" to Google. Id On November 18, 2016,
                                                                                                                                I
        26. Google provided additional productio~ that it called "supplemental" and without explanation regarding
        27 why it had not produced the supplemental data earlier. Id. On November 21; 2016, Google wrote a
        28 letter to the government claiming t~at it had not produced all data called for by the warrant on the basis

             U.S. OPP. AND MOT. TO SHOW CAUSE
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 1 that 1) it ucannot produce dat1:1-stored overseas to U.S. lay, enforcement" ru1d citing the Microsoft
 2 decision; 2) that the Coud e1·1•ed in issuing the waJ.Tant as ''overbroadi, and without "pmticularJty" nnd
 3 3) speculating that the Court erred because probable cause could not have existed for the wan:ant.
 4 Apparently then realizing tliat it had acted as its own judge without authorization of this Court, Google
 5 filed a post hoc Motion to Quash on December 6, 2016.
 6          Based on Google's assertions EUid conduct, the goverliiilent believes that Google has custody and
 7 control over additional data called for by the Coutt,s Order that Google argues, but has not established,
 8 may be store9 outstde of the United States.

 9                                                  ARGUMENT
10 I,       TI-IE WARRANT IS SUFFICIENTLY PARTICULAR AND GOOGLE LACKS ANY BASIS
            TO CHALLENGE THE COURT'S DETERMINATION AS TO PROBABLE CAUSE
11
12          The Foul'th Amendment requires that a search warrant describe with particnladty the place to be
13 searched, and the persons or things to be seized. U.S. Const. Amend. IV. The descl'iption must enable
14 the person conducting the search reasonably to identify the things authorized to be seized, United States
15 v. Spilotro, 800 F.2d 959, 963 (9th Cir. 1986). The particularity requb:ement is aimed at protecting
16 agaimt general seal'Ches and insures that nothing is left to the discretion of the executing officer, Id.

17          The Wa.t'l'ant in thls case cornports with the particularlty requirement. It asks for materials


19 addition to emails and business/subscriber information, the warrant seeks data associated wi
20 Ooo~le services, The atttotUlt of information sought by the wrutant may be large, but it is clear what is
21   targeted.

22          The validity of the war1'ant is not questlonable si:mp1y because it is not clear to Google bow the .
23 items to be seized and turned over to the gqvemment might be evidence, or how the govemrri.ent
24 established probable cause for the WarraJit. Google has not1 as this Court has, reviewed the affidavit
25 supporting the search warrant. For logistical reasons that are presumably prefe1·ential to Google1 Google
26 llersonnel l'ather than law enforcement agents, al'e dil'ected to execute the search. Neve11heless, it is not
27 Google's place to speculate that insufficient probable cause supports the warrant.

28           A warrant permitting the goverrunent fo search a target's home, for example, will regularly

     U.S. OPP. AND MOT, TO SHOW CAUSE
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            Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 25 of 48


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        :permit the goverrunent to seize indicja of th1:1t person's residence, That indicia m,ay not be at the home
    2 does not mean .the wa:rrant is defective, Similarly, that some of the tm·get user accounts may not use
    3 some or all of the Google services listed in the warrant is i.J:relevant to whether the wal1'ant is·valid.
    4          In fact, Google's failure to comply with the warrant on its face has impeded the govenunent's
    5 ' investigation in this case alld has frustrated ongoing efforts to Jooate tlle perpetrators. The volumes of
    6 data 'iYithb.eJd by Google Include tl1e full contents o       ElCCOUilts; aU email attachments associated With
    7 th       accounts listed i11 the warrant; all Google Calendru.· 1'ecords; 1 Google Maps 2 data; information
    8 pertaining to Google Sync; and data associated with multiple developer·related services. including
    9 Google Analytics, Webmastel' Tools, and AdWords.
   10           Contrru:y to Google's assumptions regarding what infonnation is 1·elevant to ihe goveP1ment's
   11   ongoing investigation, data. stored by Google in com1ection with any of the above servi,ces may contain
   12 crucil\l evidence of the subst~tive crimes under investigation, as well Els evidence oftbe account
   13 holders' geogcaphic location and travel plans, t1ie true identity and/or aliases of the accountholdel's, and
   14 the location of financial assets HUbject to seizw·e. Indeed, the Court affumatively 1•eoognizecl the value
   1S of th.is infonnation whoo it issued its Order directing Google to produce these materials. Google's
   16 decision to ignore the Court's ordef has impaired the govemment's ability to investigate the alleged
   17 off-enses and to apprehend tlie individuals responsible for the ongoing criminill activity.
   18           For example, through other information produced by Google in r~sponse to.legal.pl'ocess issued
                                                                                                               I
   19 hr the Court, the government is aware of communications between an account- onQ of                     ccounts
   20 for which Google withheld all contents - and other accowits controlled by the individuals under
   21 investigation. Many of these etnails appear to relate d~ectly to the criminal notivity that·the government
   22 is inve~tigating. Because of Google's refusal to comply with the Court's order to produce that accounts
   23 email contents, howeve1\ the government b ·restrained :fi:om investigating the :full extent of the illicit
   24
                1
        .       Google informed the Government in Novem'ber that "Google will produce Calendar rnetadata
   25 for the accollllts in the United States·as soon as Calendar js avnilable·for pxoduction." No such
       metaclata, much less contents, have b.een produce~ to date.
   26
              z A 1imited subset of Google Maps information may be f~und within the Search History data that
   27 was produced fol;' nt l~ast some of the accounts. The information that Google refuses to produce may
      .include, by Google's ow!l ~ccou.nt, "1·ecords associat~d with ou.stom maps, oh~ges an~ edits to public
   28 plaQes, starred places, private b1bels, and saved locations." Any of the abeve information could be
       mstrumental in the gov~rnmetit's investigation.                                     ·
        tJ.S. OPP, AND MOT, TO SHOW CAU~
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 1 activity and from identifying potential co-conspirators. Even for the accounts listed in the warrant

 2 where Google did produce email content, Google withheld all attachments: Investigators thus are able ·
 3 to see that emails pertaining to the criminal conduct under investigation contain references to
 4   attachments, but they are unable to view the attachments themselves.
 5           Google's failure to produce any Google Calendar records renders the government unaware of
 6 potentially valuable information concerning the account holders' travel, meetings, or other planned
 7   events. Google's refusal to produce data associated with Google Maps for any of the listed accounts has
 8 deprived the government of what may have been critical infonnation regarding the acc01mt holders'

 9   geographic locations and travel plans. Due to the nature of the account holders' criminal enterprise, any
10 information contained in or associated with the assorted developer-related applications is highly likely to
11   contain evidence relevant to the government's investigation. However, Google has withheld all data
12 pertaining to   any of the developer-related services listed in the Court's order.
13          In addition to the substantive contents of the sei;vices themselves, data associated with the
14 account holders' use of the services is likely to provide valuable information regarding their locations
15   and trge identities. In particular, evidence surrounding user attribution and location information is
                            .       .
16 critical to the government's case. The information Google stores related to each of the above services

17 could therefore be instrumental in the government's investigation. For example, Google logs the

18 Internet Protocol (IP) addresses from which users access Google services along with the time and date of
                                                                                                                 Il
                                                                                                                 i
19 access. By dete~g th~ physical location associated with the logged IP addresses, investigators can            '
20 locate arid identify the account holders. hi.deed, IP login information has already proven critical in this   I
21   case. Google's refusal to produce the records associated with the above-listed records, as ordered by the
22 Court, has precluded the government from making full use of the location data that would otherwise be
23   available.
24 II.      GOOGLE HAS FAILED TO ESTABLISH THE FACTUAL PREDICATE FOR
            MICROSOFT'S APPLICATION, AND MICROSOFTWAS WRONGLY DECIDED
25
26          Google invokes the Second Circuit's decision in Microsoft to sanction its failure to comply with
27 this Court's search warrant. Google has made no showing that Microsoft, which-was wrongly decided,
28 applies to its situation. On that basis alone, Google's Motion should be denied, it should be order~d to
     U.S. OPP. AND MOT. TO SHOW CAUSE
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      Case 3:16-mc-80263-RS Document 49-6 Filed 05/05/17 Page 27 of 48




 1 produce the requested materials, and it should be ordered to show cause why it should not be held in
 2 contempt for its delay and non-compliance. In the event that Google makes a factual showing sufficient
 3 to invoke Microsoft, the government asks for an evidentiary hearing to determine how Google stores and
 4 retrieves its data, and what steps Google has taken after being served with the search warrant to '.
 5 detennine what responsive data it maintains exclusively abroad .. Only with this information can this
 6 Court determine whether Microsoft applies to Google at all.
 7          A.     The Microsoft decision
 8           In Mic~osoft, the government served Microsoft Corp. at its headquarters fu Washington state
 9 with a search warrant under the Stored Communications Act ("SCA"), 18 U.S.C: § 2703, for the email
10 account of one ofits customers. 829 F.3d at 200. Microsoft produced the customer's non-content
11 information, which was stored in the United States-to the government, but moved to quash the warrant
12 with respect to the content of the customer's emails, which Microsoft determined was stored in its data
13 center in Dublin, Ireland. Id. at 200-01. Microsoft argued that the warrant, like ordinary search                 I

                                                                                                                  II
14 · warrants.had no extraterritorial reach. In re Warrant to Search a Certain E-Mail Account Controlled
15 andMaintainedbyMicrosojtCorporation, 15F. Supp. 3d466, 470 (S.D.N.Y. 2014) ("Inre Warranf').
16 The magistrate judge, whose findings the district court adopted, denied the motion to quash, and the
17 district court found Microsoft Corp. in civil contempt. Microsoft, 829 F.3d at 201, 204-05.
18          The magistrate judge noted that 18 U.S.C. §§ 2703(a) and 2703(c)(A) refer to "a warrant issued
                                                                          \
                                                                                                                I,I
19 using the procedures described in the Federal Rules of Criminal Procedure," and the question was
                                                                                                                :I I•
20 whether that referred merely to the procedural aspects of Federal Rule of Criminal Procedure 41 ("Rule       II   H
21 41"), or also substantive limits on territ~rialreach of conventional search warrants·. In re Warrant, 15     \I
                                                                                                                     B
22 Supp. 3d at 470. The magistrate judge observed that the SCA was enacted to create a set of Fourth                 !
                                                                                                                i.   l
                                                                                                                ' fn
                                                                                                                !
23 Amendment-like privacy prot(}ctions for digital information held by third parties such as Internet Service   I ~
24 Providers ("ISPs"), which.the government could otherwise obtain with a subpoena. Id at 471 (citing
                                                                                                                     Ii
                                                                                                                     ~



25 'Orin Kerr, A User's Guide to the St~red Communications Act, and a Legislator's Guide to Amending It,
26 72 Geo. Wash. ~.R. 1208, 1212 (2004)). Thus, the SCA scaffolded a range of procedural protections -
27 from subpoenas requiring no demonstration of probable cause, to court orders issuable only upon

28 specific and articulable reasonable suspicion, to warrants issuable only upon probable ca-qse- around

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 1 tiers of digital information concerning lesser to greater privacy interests. Id. at 468-70. The government          I
                                                                                                                    \I !~
 2 could obtain basic customer information, 18 U.S.C. § 2703(c)(2), stored emails more than 180 days old,           !I
 3 18 U.S.C. § 2703(a), any email with prior (or, where authorized under 18 U.S.C. § 2705, delayed) notice
 4 to the customer, 18 U.S.C 1 § 2703(b)(l)(b)(i), with an administrative subpoena authorized by a federal
 5 or state statute or a federal or state grand jury or trial subpoena. Id. at 468-69. Subpoenas are not
 6 limited to domestic infonnation. Id. at 472. The government could obtain all of the above infonnation
 7 and also more detailed customer records by applying for a court order pursuant to 18 U.S.C. § 2703(d),
 8 issuable only upon specific and articulable facts snowing that there are .reasonable grounds to believe
 9 that the data sought are relevant and material to an ongoing criminal investigation. Id. at 469 (citing 18
10 U.S:C. § 2073(d)). The government could obtain all of the above information as well as the contents of
11 emails in storage for 180 days or less, "only pmsuant to a warrant issued using the procedures descn'bed
12 in the Federal Rules of Criminal Procedure'' (or state warrant procedures). 18 U.S.C. § 2703(a); In re
13   Warrant, 15 ,F. Supp. 3d at 470. It would be anomalous to the structure of SCA to find that the class of
14 .information reached with the least procedural protection extended to information maintained anywhere
15 in the world, but that the class of information reached with the greatest procedural protection did not.
16 .Id at 472. Thus, the magistrate judge ·concluded that a warrant issued under 18 U.S.C. § 2703 refers to a
17 hybrid order that is "obtained like a search warrant when an appl10ation is made to a neutral magistrate
                                                                                                                   /
18 who issues the order only upon a showing of probable cause," but is "executed like.a subpoena in that      it   t
19 is served on the ISP in possession of the information and does not involve government agents entering
20 the premises of the ISP to search its servers and seize the e-mail account in question.,, Id at 471. The
21 magistrate judge also drew on legislative history and practical considei:ations to support its conclusion.      I,
                                                                                                                       I
22 Id at 472-73.
23          Additionally, the magistrate held that "the concerns that animate the presumption against
24 extraterritoriality are simply not present here; an SCA Warrant does not criminalize ~onduct taking place       r,' II
                                                                                                                   .I
25 in a foreign country; it does not involve the deployment of American law enforcement personnel abroad;
                                                                                                                       I
                                                                                                                       i
26 it does not require even the physical presence of service provider employees at the location where data
27 are stored." Id. at 475-76. Indeed, because Microsoft Corp. personnel operating in the United States
                            .                                                .
28 could access the target data from the United States, and because a search does not occur until the object
     U.S. OPP. AND MOT. TO SHOW CAUSE
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 1 of the search is exposed to possible human observation, the search at issue would take place in the
 2 United States, even though the data might be stored abroad. Id at 472.
 3           The Second Circuit; acknowledging that it was strongly influenced by the fact that the SCA, part
 4 of the broader Electronic Communications Privacy Act ("ECPA"), was enacted in 1986, in a-
 5 ''technological context very different.from today's Jntemet-s_aturate reality," reyersed. Microsoft, 829
 6 F.3d at 201-02, 205-06.

 7          Applying the framework set forth in Morrison v. National Australia Bank Ltd., 561 U.S. 247,
 8 261-65 (2010), the Second Circuit found that the SCA did not expressly or implicitly contemplate
 9 extraterritorial application, and then that the challenged application was extratenitorfal. Id. at 210-13.
10 The Second Circuit found that as used in the SCA, "a warrant" was a term of art that incorporated the
11 traditional territorial limitations embedded in the procedural requirements, for magistrate judges may
                                                                                   -·
12 only issue warrants within the United States. Id. at 201,208, 212. The Second Circuit also held that
13   even under the magistrate judge's hybrid warrant-subpoena theory of an SCA warrant, the warrant
14 would not reach Microsoft Corp. 's data in Ireland. Id at 215. The Second.Circuit-explained that
15 although it had held that a subpoena may compel a target to turn over its own records, wherever they
16 may be, it had "never upheld the use of a subpoena to compel a recipient to produce an item under its
17 control and located overseas when the recipient is merely a caretaker. for andther individual or entity and
18 that individual, not the subpoena recipient, has a protectable privacy interest in the item." Id. at 215-16,
19 218-19:

20          The Second Circuit acknowledged that although·the data at issue was indisputably located
21 beyond United States borders, the act of retrieving it would be performed in the United States. Id. at
22 209, 216-17. However, it found that this domestic contact was not sufficient to avoiding triggering the
23 presumption against extraterritoriality because the domestic contacts were not the "focus" or object of
24 the SCA. Id at 216-17. The Second Circuitfo~d that the focus of the warrant provisions of the SCA is
25 user privacy of stored communications, and that·follows the location from which the content subject to
26 the warrant is to be seized. Id. at217-18, 220~21. The Second Circuit found that the seizure would
27 occur where the data was stored, in Dublin. ld. at 220.

28           In bis concurrence, Judge Lynch pointed out that it was a"very close case to the extent that the

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 1 presumption against extraterritorj.ality shapes our interpretation of the statue" and that the decision led to     t       I
 2 the preposterous result of email users' privacy varying arbitrarily with business practices they have              !       I
 3 nothing to do with. Id at 224,229,230 (Lynch, J., concurring). Judg~ Lynch noted that there was a .

 4   strong argument that compelling Microsoft Corp. to produce data stor~d in Ireland was not an

 5 · extraterritorial application of the SCA. Id. at 226-27. The SCA referred to a warrant, and not a search

 6 warrant, which supported the argument that the SCA does not refer to a traditional se~ch warrant, but

 7 prescribes the procedural mechanism to allow the gove~ent to require a service provider to disclose

 8 the contents of certain electronic communications without notice to the subscriber or customer. Id. As

 9   such, it was questionable whether the focus o~the SCA should be on the location of the search or where

10 the data is kept Id. at 227-28. "Tangible documents, having a material existence in the physical world,

11   are stored in a particular physical location," and executing~ traditional searc~ warrant requires a visit to

12 that location. Id. at 228-29. The location of electronic documents, however, "is, in important ways,

13   merely virtual." Id. at 229. Microsoft Corp.'~ employees, located in the United States, "can review

14 those records" "without ever leaving their desks in the United States," and the "entire process of

15   compliance" with a warrant "ta1ces place domestically." Id. Nonetheless, Judge Lynch concurred                       i
16 because "there is no evidence that Congress" clearly intended to reach situations of this kind. Id. at 230~            f
17   31. Judge Lynch urged Congress to revise the statute to overrule the Microsoft decision "with a view to
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18   maintaining and strengthening" the SCA's "privacy protections, rationalizing and modernizing the
                                                                                                                          r
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19 provisions permitting law enforcement access to stored electronic communications and othei· data where

20   compelling interests warrant it1 and clarifying the international reach of those provisions after carefully          I
21   balancing the needs oflaw enforcement ... against the interests of other sovereign nations." Id. at 23 lM
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22   33.
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24
            B.      Google has not established that responsive data is stored extraterritorially

            For the reasons discussed briefly below, this Court should reject Microsoft 1 which the Second          l     l
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25   Circuit wrongly decided, apparently with the goal of inciting legislative action. But Google has not even
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26   established that it would be entitled to resist the warrant at issue, even if this action were in the Second
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27   Circuit Microsoft Corp. established that data responsive to the search warrant in that case was in

28 Ireland at all times relevant to the warrant, and not in the United· States. Google failed to make any

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 I showing that the only copy of materials within the scope of the search warrant existed outside of the                  I
 2 United States at all time~ during the pendency of the warrant, such that the Microsoft decision would
 3 facially apply to it. Google has not put anything :into the record establishing how it preserves data,
 4 where that data is stored, or how it may retrieve and access that data. Using the passive voice
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 5 repeatedly, Google states that it has produced records "known to be stored in the United States," Google
 6 Motion to Quash at 6, but it is- silent as to whom it is known by, how it is known, when it is known, what
 7 the scope of th:ings is lmown, or even what it means to be known. If Google bas not taken steps to
 8 "know" whether certain contents of email addresses are stored :in the United States, then those contents            I  l
 9 are not "known" to be stored in the United States. But neither are they known to be stored overseas.
10 Perhaps, as with a traditional warrant, fue government should be tasked to make those determinations :in

11 executing future warrants.



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12          Google also stretches Microsoft's holding beyond recognition. Microsoft held that the SCA does
13 not reach records the providers knows and proves to be outside of the United States. Google asserts that

14 a search warrant· "cannot reach records if it is unknown whether the records a1'e located in the United
15 · States," suggesting that the government inust know where the records are at the time of th.e search

16 warrant's issuance. Google's Motion to Quash at 6. Microsoft does not require the government to know
17 where records are located. Microsoft Corp·. determined that the responsive records were in Ireland; that
18 was the premise of its motion to qu_ash. The location of the records was known, and known by the entity
19 in control of the location of the records.                                                                    ·i       I
                                                                                                                  !
20           Google is not entitled to assert th.at Microsoft excuses its failure to comply with· this Court's
21 sear~h warrant when it has done nothing to establish the factual predicates. ·The government therefore         I
22 respectfully submits that Google's Motion is fatally flawed and should be denied, If Google can assert
23 facts sufficient to cause the Court to inquire further, then the government asks for an evidentiary
24 hearing. If, in fact,. Google can make .a factual showing that data was actually stored outside of the
25 United States as the post hoc basis for its non-compliance and the Court views that issue as bearing on
26 Google's obvious contempt, then further briefing may be necessary.
27          C.     Microsoft was wrongly decided
28           This Court should most ee1tainly reject Google's fun-house mirror version of Microsoft. But
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 1 should it reach the issue, it should also reject Microsoft as the Second Circuit wrote it. Microsoft is the
 2 only ·decision to hoId that the SCA does.not reach data retrievable from the United States if it is stored
 3 abroad, is non-binding, and was wrongly decided. The Microsoft decision was wrongly decided for at
 4 least three reasons. First, the Microsoft court placed unwarranted emphasis on the SCA's use of the
 5 t_erm "warrant') and, as a result~ mistook the SCA' s grant of power to courts as in rem as opposed to in
 6 personam~ Second, it misapplied the seco:11d step of the Morrison test in applying the pre_sumption
 7 against extraterritoriality, which, properly applied, establish.es that the compelled disclosure at issue is a
 8 permissible territorial application ofthe SCA. Third, it did not consider Congress's unequivocal action
 9 confirming that the SCA does in fact reach foreign-stored data.

10                   1. The SCA Provides Courts With Power In Personam To Require U.S. Providers To
                        Produce Information In Their Custody Or Control, Regardless Of The Location Of The
11                      Information.
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             The SCA grants courts with the in personam power to require certain providers, including email
     providers, to produce certain information responsive to a warrant. Unlike searches for physical items, or
     even electronically stored information ori. a defendant's computer or cellular phone, the data at issue
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     here, primarily email content, is truly abstracted from any physical form. This is not merely because the       I
     data itself is digital. For example, when dealing with electronically stored information on a computer or
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     cellular phone, the physical source of the :information, e.g., the computer or phone and where they were       I
18
     found, is as relevant as the data it contains. Accordingly, in using suchm!).terials in a prosecution, the
19
     government must take steps to establish that any resulting evidence came dire_ctly from the original,
20
     seized item: The data at issue here is different. The concept of an ''original" email is inapposite. The
21
     government does not seek to seize or even obtain information about the specific hard drives the
22
     requested data sits on at the time the warrant is issued; rather, the warrant seeks only the -information
23
     itself, abstracted from any physical device. Given this distinction, it comes as no surprise that Rule 41,
24
     governing traditional search warrants for persons or property, grants courts with in rem power by
25
     _limiting the authority to issue such warrants to situations where the person or property to be searched is
26
     loc~ted within the court's territorial jurisdiction. Equally unsurprising is that the SCA, dealing with
27
     abstracted data, grants courts with in personam power over certain U.S. providers, namely providers of
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 1 electronic communications and/or remote computing services.                                                             I
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 2          .Rule 41 (b) generally requires that the property to be searched for and seized "be located     in the
 3 district.)> (compare Rule 41(b)(l) with 41(b)(2)-(6)). The SCA, however, operates differently: it                      II


 4 explicitly broadens the jurisdiction of courts to issue warrants for information located outside of the
 5 district. In addition to creating jurisdiction when the information is stored in the same district, the Act
 6 also defines a "court of competent jurisdiction" as a court having jurisdiction over.the offense under
 7 investigation qr a court in the district in which the provider is located. See 18 U.S.C. §§ 2703(a)-(c)
 8 (requiring in certain circumstances a "warrant issued using the procedures described in the Federal.Rules              I Ii
                                                                                                                          ,.i I
 9 of Criminal Procedure ... by a court of competent jurisdiction") (emphasis added) and 2711 (3) (defining               i i
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10 a "court of competent jurisdiction"). 3 Additionally, a court of competent jurisdiction can still only                        l
11 exercise such :power over certain types of entities, namely electronic communication service and remote                      I
12 computing service providers. Id Accordingly, under the broader jurisdiction granted by the SCA, the
13 information required to be disclosed pursuant to a warrant need not be in this district at the time the

14 warrant is issued. Fed. R. Crim. P. 41(a)(l) explicitly recognizes such statutory provisions. ("This rule
15 does not modify any statute regulating search or seizure, or the issuance and execution of a search
16 warrant in special circumstances."). Tl_ierefore, the SCA recognizes that, in the context of certain
17 electronic information (such as the content of emails held at).d controlled by providers of electronic
18 communications service and computing service), the fact that such information is electronically stored in·
19 remote locations does not limit the ability of this Comt to require it to be gathered and produced in this
20
        8   The full defmiifon of "court of competent jurisdiction" includes -
21
                     (A) any district court of the United States (including a magistrate judge of such a
22                   court) or any United States court of appeals that-                                              !          t
                                                                                                                     I
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23                   (i) has jurisdiction over the offense ·being investigated;                                      i,         t
                     (ii) is in or for a district in which the provider of a wire or electronic                      I
24                   communication service is located or in which the wire or electronic
                     communications, records, or other information are stored; or
25                   (iii) is acting on a request for foreign assistance pursuant to section 3512 of this
                     title; or         ·             ·            ·
26
                     (B) a court of general criminaljudsdiction of a State authorized by the law of that
27                   Statefo issue search warrants[.]

28 18 u.s.c. § 2711(3).
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    1 district. In that regard, the SCA implements the fundamental principle, detailed below, that requiring                 :- I
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    2 the productiop. in a given district of information located abroad does not trigger extraterritorial issues             ''   '




    3 because the act of compulsion talces place domestically.
    4          This is not a novel concept. On the contrary, it is well-settled in this Circuit, and others, that the
    5 power to require a person to disclose information applies to all information in that per$on's custody or
    6 control, regardless of where the information is located, See se·c. & Exch. Comm 'n v. Minas De
                                                                                                                                  I
   ·7 Artemisa, S. A., 150 F.2d 215,218 (9th Cir. 1945) ("The obligation to respond applies even though the



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    8 person served [with a subpoena] may fmd it necessary to go to some other place within or without the
   .9 United States in order to obtain the documents require4 to be produc.ed/') (cited approvingly in Steel v.
   10 Bulova Watch Co., Inc., 344 U.S. 280, 289 & n.17 (1952) for the proposition that "the District Court in
                                                                                                                                  I
   11 exercising its equity powers may corpmand persons properly before it to cease or perform acts outside
                                                                                                                                  I
   12 its territorial jurisdiction"); United States v. Martin, No. 14-00678, 2015 WL 4463934, at *3 (D. Ariz.
   13 July 21, 2015) (denying the defendant's motion to suppress information obtained from Facebook and
                                                                                                                                  I
                                                                                                                                  I
   14 Twitter where they did not disclose the location of their servers, because "[t]he SCA warrants ... sought
   15 ,information plainly under the control of two United States corporations") (not published); cf Republic of                  I
   16 the Philippines v. Marcos, 862 F.2d 1355, 1363-64 (9th Cir. 1988) ("The-injuncti?n is directed against
   17 individuals, riot against property; it enjoins the [defendants] and their associates from transferring certain
                                                                                                                                  II
   18 assets wherever they are located. Because the injunction operates in personam, not in rem, there is no

   19 reason to be concerned about its territorial reach."). 4 These cas~s reason that because a court's ability to               I
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   20
                                                                                                                                  I
   21          4 Hay   Group, Inc. v. E.B.S. Acquisition Corp., 3.60 F.3d 404,412 (3d Cir. 2004) (Alito, J.)
        ("'Production' refers to the delivery of documents, not their retrieval; and therefore 'the district in which             l
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   23
   24
        the production ... is to be made' is not the district in which the documents are housed but the district in
        which the subpoenaed party is required to turn them over."); Reinsurance Co. ofAm. v. Administratia
        Asigurarilor de State (Admin. of State Ins.), 902 F:2d 1275, 1281 (7th Cir. 1990) ("A court or agency in
        the United States, when authorized by statute or rule of court, may order a person subject to its
                                                                                                                        i    I    J
        jurisdiction to produce documents, objects, or other information relevant to an action or investigation;
   25   even if the information ... is outside the United States.") (quoting RESTATEMENT (THIRD) OF TIIB
        FOREIGN RELATIONS LAW§ 442); Gerling Int'! Ins. Co. v. CIR, 839 F.2d 131, 140 (3d Cir. 1988)
                                                                                                                        \·. ,l
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   26   (explaining that, under the rule governing the production of documents and other evidence in tax court,
        "[t]he location of the documents, whether within the territorial jurisdiction of the court or not, is

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   27
        irrelevant" (citing In re Marc Rich & Co., A.G., 707 F.2d 663, 667 (2d Cir. 1983), _and citing In re
   28   Uranium Antitrust Litigation, 480 F. Supp. 1138; 1144 (N.D. Ill. 1979))); United States v. Bank ofNova
        Scotia, 691 F.2d 1384, 1389-90 (11th Cir. 1982) (affirming the district court's order enforcing a grand
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   1 require disclosure is premised on the court's jurisdiction over the person, the compulsion is domestic..
   2 This conclusion remains the same, even when soine of the information required to be disclosed must be
   3 gathered from outside the United States. See Restatement (Third) of Foreign Relations Law§ 442(1)(a)
   4 (1987) (making clear that "[a] court or agency in the United States, when authorized by statute or rule of
   5 court, may order a person subject to its jurisdiction to produce documents, objects, or other information
  6 relevant to an action or investigation, even if the information or the person in possession of the
  7 information is outside the United States"). Courts have long been empowered to exert authority on
  8 people and entities over whom they have jurisdiction, even if that authority has consequences overseas
  9 or otherwise outside of a court's territorial jurisdiction. See, e.g., Blackmer v. United States, 284 U.S.
 10 421, 438 (1931) ("The jurisdiction of the United States overits absent citizen, so far as the binding
 11 ·effect of its legislation is concerned; is a jurisdiction in personam, as he is personally bound to take
 12 notice of the laws that are applicable to him and to obey them."); Hale v. Henkel, 201 U.S. 43, 75 (1906)
                                                                                                                     ,I   I



 13 ("It would be a strange anomaly to hold that a state, having chartered a corporation to make use of
 14 certain franchises, could not, in the exercise of its sovereignty, inquire how these franchises had beeri
· 15 employed, and whether they had been abused, and demand the production of the corporate books and
 16 papers for that purpose."). Indeed, in Martin, the court, following this principle, noted that "it is _well~
                                 a
 17 established that so long as court· has jurisdiction over a custodian, records within the custodian's
 18 control are subject to disclosure regardless of their location." 2015 WL 4463934, at *3 (citing Marc
 19 Rich, 707 F.2d at 667).
 20
                                                                                                                     f.
  21 jury subpoena against a Bahamian bank which was "subpoenaed while subject to the jurisdiction of [the          If
     district court]," where the subpoena required disclosure ofrecords located in the Bahamas); Marc Rich
  22 & Co. v. United States, 707 F.2d 663, 667 (2d Cir. 1983) (a witness may not "resist the production of
  23 [subpoenaed} documents on the ground that the documents are located abroad ... [t]he test for
     production of documents is control, not location") (citations omitted); In re Anschuetz & Co., GmbH,
  24 754 F.Zd 602, 614 n.29 (5th Cir. 1985) (noting that "[i]t is not ipso facto a defense to a discovery request
     that the law of a foreign country may prohibit production or disclosure. As the Eleventh Circuit held in
. 25 United States v. Bank ofNova Scotia, 691 F.2d 1384 (111h Cir.1982), even at the sanction stage,
     violat~on of foreign law is not necessarily a valid defense to a lawfully issued subpoena for
  26 documents.''), cert. granted, judgment vacated on other grounds sub nom. Anschuetz & Co., GmbH. v.
  27 Mississippi River Bridge Auth., 483 U.S. 1002 (1987); In re Sealed Case, 832 F.2d 1268, 1284 (D.C.
     Cir. 1987), abrogated on other grounds by Braswell v. United States, 487 U.S. 99 (1988) (holding that a
  28 subpoena for documents in Switzerland is enforceable by the District Court if it has personal jurisdiction
     over the companies whose records are sought).
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 1          This fundamental concept- that a court's power to compel disclosure is directed to the person
 2 (in personam), not the items to pe produced (in rem) - was welJ...established at common law long before
 3 Congress enacted Section 2703 of the SCA in 1986. It was not, therefore, ·a radical change when, in
 4 2001, Congress broadened the jurisdiction of courts to issue warrants for infonnation located outside the
 5 normal jurisdiction of the issuing court. Accordingly, the decision not to impose a Rule 41-type
 6 territorial limitation on warrants issued pursuant to the SCA, but rather to define a "court of competent
 7 jurisdictio:r( to include any Federal court that has jurisdiction over the offense being investigated, must
 8 be read as a deliberate choice by Congress to authorize a court to require the-disclosure of information
 9 not located in the district.   m [W]hen   a statute covers an issue previously govemed by the common law,'
10 [courts] must presume that 'Congress intended to retain the sp.bstance of the comm.on law.'" Kirtsaeng
11 v. John Wiley & Sons, Inc., 133 S. Ct. 1351, 1363 (20i3) (quoting Samantar v. Yousuf, 560 U.S. 305,
12 320 n.13 (2010)). Indeed, in light of the settled common law on the inpersonam nature of a court's
13 power to compel the disclosure of documents, as well as Section 2703 's focus on regulating such
14 disclosure, there can be little doubt that Congress envisioned "a court of competent jurisdiction" as one
15 empowered to compel a U.S.-based provider of electronic communications service or remote computer
16 service to disclose_ information in its custody and control - regardless .of where ~hat information may be
17 when the provider takes action in the United States to gather it
18          Instead of acknowledging the distinction between in personam and in rem proceedings; the
19 Microsoft court focused on the distinction between the terms "warrant" and "subpoena." 829 F.3d at
                                                                                                                 I
20 214 ("We see rio reasonable basis in the statute from which to infer that Congress used 'warrant' to          I
21 mean 'subpoena."'). The Second Circuit erroneously concluded that because the SCA uses the term
22 "warrant," Congress implicitly imp01ted the "traditional[] ... territorial limitations" that apply to
                                                                                                                 I1
23 warrants suyh as those imposed by Rule 41 (b). Id. at 201. But that conclusion ignores explicit language
24 in the SCA reflecting Congress's intent not to impose such limitations and also ignores the fact that the
25 use of the term "warrant" is more logically understood not as a geographic limitation inconsistent with
26 theplainJanguage of the SCA, but as a description of the procedures to ~e followed in order to require
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27 the information to be produced, including the probable cause requirement, exactly as the plain language
28 repeatedly indicates. See 18 U.S.C. § 2703(a) ("pursuantto a warrant using the procedures described in
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    1 the Federal Rules of Criminal Procedure"); § 2703(b)(l)(A) (same); § 2703(c)(l)(A) (same). Indeed, as
    2 the concurring opinion in Microsoft notes, the "the SCA does not describe the warrant'' as a Rule 41
    3 search warrant; instead, "it simply authorizes the government to require the service provider to disclose
    4 certain communications to which it has access." 829 F.3d at226-28 (Lynch, J., concurring) (emphasis
    5 in original).
    6          Finally, the Microsoft decision ignores the fact that the case law involving the issuance of
    7 subpoenas is not the "Law on 'Subpoenas,"' id. at 214, but is rather the law defining the ext~nt of a
    8 court's in personam power to compel the productfon of documents. See, e.g., Steel; 344 U.S. at 289 &
                                      .               .        .                         .
    9 n.17; Marcos, 862 F.2d at 1363-64; The Microsoft court instead notes that the cases involving
   10 subpoenas to banks are distinguishable becaus·e they do_ not involve situations where the subpoenaed                    I
                                                                                                                              I
   11   entity was "merely a caretaker fo_r another individual and that individual, not the subpoena recipient,· has
        a protectable privacy interest in the item." 829 F.3d at 215-16. However, the court failed to recognize


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   13· that even where a subpoena is sent directly to an individual with a privacy interest in the requested
   14 information, the Fourth Amendment imposes only a reasonableness requirement. See Fisher v. United
                                                                                                                             I
   15 States, 425 U.S. 391,401, 408-09 (1916) (holding that the Fourth.Amendment's reasonableness                            I
   16 requirement applies to a summons or subpoena for compelling the production of private papers held by             .r
  · 17 criminal defendants' attorneys); cf Hale, 201 U.S. at 73~76 (the Fourth.Amenchnent imposes a
                                                                                                                       rI
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   18 reasonableness requirement in the context of compelled disclosure of a corporation's records). Here, the
   19 procedure the government used to under the SCA is eminently' reasonable - it required the government·            I!:   1·


   20 to obtain a warrant based on a showing of probable cause to a neutral and detached magistrate before it           i!
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   21 could compel the production of certain infonnation. Adopting the Second Circuit's view would lead to             .I
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   22 the anomalous conclusion that records held by a "caretaker" of another's records are somehow entitled            iI
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   23 to greater protection than they would be if they were held directly by the individual with a privacy ·
                                                                                                                       I
   24 interest those records.                                                                                          I
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   25                  2. The Microsoft Court Misapplied The Second Step Of The Morrison Test:                         I· I
   26          The Second Circuit . misapplied the Supreme· Court's · two-step framework for analyzing                 I
   27 extraterritoriality as explained in Morrison v. Nat'l Australia Bank, Ltd., 561 U.S. 247 (2010), Kiobel v.       I\

   28. Royal Dutch Petroleum Co., 133 S. Ct. 1659 (2013), andRJR Nabisco, Inc. v: European Community, 136              r
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 1 S. Ct. 2090, 2100-01 (2016).             The Morrison Court explained that the presumption against

 2   extraterritoriality, a canon of statutory construction, means that ''[w ]hen a statute gives no clear indication

 3 of an extraterritorial application, it has none." Morrison, 561 U.S. at 255. The Court in RJR Nabisco

 4   subsequently detailed the two-step framework for applying the canon that was set forth in Morrsion. "At

 5 the first step, [a court must] ask whether the presumption of extraterritoriality has been rebutted - that is

 6 whether the statute gives a clear, affirmative indication that it applies extraterritorially." RJR Nabisco,

 7   136 S. Ct at 2101. At the second step, triggered only if _a provision is found not to apply ex.traterritorially,

 8 courts must determine whether the case nonetheless "involves a domestic application of the statute ... by

 9 looking to the statute's 'focus."' Id Ultimately, if the relevant conduct "occurred in the United States,

10 then the case involves a permissible.domestic application even if other conduct occurred abroad." Id.

11   (emphasis added).

12          The Microsoft cowt correctly conclude~ that the presumption against extraterritoriality appli~s to

13 the SCA. 829 F.3d at 216. It erred, however, at the second step of Morrison when it determined that (1)

14 the relevant "focus" of Section 2703 of the SCA under a Morrison analysis is privacy, as opposed to

15   disclosure, and (2) any invasion of that privacy "ta1ces place .. , where the customer's protected content

16 is accessed-here, where it is seized by Microsoft, acting as an agent of the government." Id. at 216-20.

17          In discerning the focus under the step two of the Morrison analysis, the Microsoft court concluded
18 that Section 2703' s warrant provision evokes a focus 9n privacy because ''Rule 41 is undergirded by the

19   Constitution's protections of citizens' privacy[.]" 829 F.3d at 217 (quotations omitted). The court then .

20 looked to other sections of the SCA, noting that various provisions included mechanisms designed to

21   protect individuals' "privacy interest in their stored communications." Id. at 217-18. Finally, the court

22 cited legislative history indicating that Congress sought to "ensure protections traditionally afforded by

23   the Fourth Amendment" and "to protect privacy interests in personal and proprietary infonnation, while

24 protecting the Government's legitimate law enforcement needs." Id. 219-20 .(quotations omitted).

25           The Second Circuit erred, however, when it went beyond Section 2703 to look at the SCA as a

26 whole in order to discern its "focus," because step two of a proper extraterritoriality analysis should

27 proceed on a section by se.ction basis. See, e.g., Morrison, 561 U.S. at263-65 (holding that Section lO(b)

28   of the Securities Exchange Act of 193.4, 15 U.S.C. § 78j(b), does not apply extraterritorially, but that

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   1 Section 30(a), 15 U.S.C. § 78dd(a), does); RJR Nabisco, 136 S. Ct. at 2100-11 (holding that RICO's                        i
                                                                                                                               i

   2   substantive provisions, 18 U.S. C. § 1962, apply extraterritorially to the extent the charged predicates apply

   3 extraterritorially, but that RICO's civil damages provision, 18 U.S.C. § 1964(c), does not). The focus of
                                                                                                                               I, II
   4 Section 2703 alone - which is all about "[r]equired disclosure of customer communications or records" -
                                                                                                                               11
   5 is apparent not just from its title, but also from the fact that in each subsection, the exact same requirement
   6 - i.e., to disclose - applies without. regard to the type of process that must issue as a precondition to the
                                                                                                                               ,I
   7 requirement. See 18 U.S.C. § 2703(b) (creating the same authority to require disclosure pursuant to
   8 warrants, subpoenas, and court orders under .Section 2703(d)); see also § 2703(c) (requiring disclosure
                                                                                                                                    I
   9 pursuant to warrants, subpbenas, .court orders, consent, and certain written requests). Regardless of the

· ·10 process to be followed, the showing that must be made, or the level of information that must be disclosed,
                                                                                                                                    II
 11    once the statute's requirements are met, the end result is that the provider is compelled to disclose the
 12 information described. 5 It is difficult to conceive of a section whose focus on disclosure could be clearer.                   l
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 13           That is not to say.there are no privacy concerns triggered by such disclosures, but the Microsoft
 14 court incorrectly concluded that those concerns trump the actual focus of Section 2703. Section 2703
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 15 does address privacy, by detailing when, and on what basis, the government can require the disclosure of                        t
 16 cettain infotmation. The various processes and showings required reflect the way Congress balanced                     . f
 17 privacy, concerns against the goverpment's legitimate law enforcement needs. That, however, does not.
 18 alter the language of the provision, which is about disclosure. See Microsoft, 829 F.3d at 218 (incorrectly
 19 surmising that had the SCA "instead created ... a rebuttable presumption of law enforcement access to                          'I
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 20 content premised on a minimal showing of legitimate interest, the govermnent' s argument that the Act's                         I
 21 focus is on aiding law enforcement and disclosure would be stronger"). There is nothing incongruous                  . f .1
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 22 about conditioning disclosure obligations on certain processes, but requiring those processes to be                   i.
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 23
 24            5 .Se~ 18 U.~.C. § 2703(a) (requirh;1.g a warrant .for disclo~ure. "by a l?r~vider of ~lectronic
       commun1cat1on service of the contents of.a wire ot electronic commumcat1on, that 1s m electromc storage           I
 25    in an electronic communications system for one hundred and eighty days or less"); § 2703 (b) (setting rules        1·        I

       for disclosure of specified information by a ptovider of remote computing service and requiring either a
 26
 27
       warrant, court order, or subpoena, dependi1;1.g on whether notice is provided to 1;he subscriber); § 2703(c)(1)
       (applicable to disclosures of a record or other information pertaining to a subscriber to or customer of such
       service (not including the contents of communications) and requiring either a warrant, court order, consent
                                                                                                                                   I
       of the subscriber, or a formal request by law enforcement in certain enumerated circumstances); and                         ·f
       § 2703(c)(2) (permitting a subpoena to require the disclosure specified basic subscriber information).

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 1 followed in order to compel the diselosure does not change the simple conclusion that such processes are                        I!
 2 the procedural means to the substantive end: disclosure.                                                                i       I
                                                                                                                           r I
 3           By looking at the other sections of the SCA- Sections 2701 and 2702 -instead of only Section                  Ir
                                                                                                                           I       I
 4 2703, the Second Circuit came to the erroneous conclusion that Secti_o:µ 2703 was "an exception to" those

 5 other "primary" sections. That is a plain ~sapplication of the purpose ofthe·section by section analysis

 6 because, as RJR Nabisco makes clear, different subsections of a statute can operate differently. 13 6 S. Ct.

 7 at 2102-03 (noting that the presumption of extraterritoriality may differ. by subsection and it is only after
 8 perfonning the step one analysis on that basis is it appropriate to inquire into ''focus"). The Microsoft
 9 court's error in this ~egard is all the more inexplicable, given that it appeared to otherwise acknowledge

10 that, at the second step, it was required to lopk only to the territorial events that are the focus of "the

11   relevant statutory provision." Microsoft, 829 F.3d at 216 (epi.phasis added).
12           The court then compounded that error when it concluded that requiring an. entity in the United

13 States to disclose infonnation stored abroad results in an extrat~rritorial application of the statute. To the
14 contrary, the law is clear that such compulsion occurs in the United States, on United States persons, and

15 in United States courts. 6 Disclosure in accordance with the section's requirements is therefore, not an

16 extraterritorial application ofth.e statute. See RJR Nabisco, 136 S. Ct. at 2101 ('.'If the conduct relevant to

17 the statute's focus occurred in the United States, then the case involves a permissible domestic application

18   even if other conduct occurred abroad.") (emphasis added). In exactly the same way as occurs for otl;i.er                 I
19 types of compelled production of materials, Min'as De Artemisa, 150 F.2d at 218, the compulsion to

20 require the disclosure of-information pursuant to process under the SCA - whether the process that gives
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21   rise to the requirement is a subpoena, a court order under Section 2703(d), or a warrant - occurs in the          Il
22 United States, and thus is not an extraterritorial application of Section 2703.7
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23
   .       6 In.deed, such compulsion occurs only after a warrant is issued based on an application made to .          r       I
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24 a court of competent jurisdiction in the United States.                .

25          7 For that reason, the Microsoft court1s concerns that "lv.licroso:ft will necessarily interact with the   I•. 'i
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   Dublin datacenter," 829 F.3d at 220, were misplaced. Nothing in the record showed "the citizenship and
26 location of the customer,» id., or for that matter, that the subscriber either had any right to prevent
                                                                                                                       .I
   Microsoft from moving data anywhere it saw fit, or any knowledge about where the infonnation resided.               -I
27 In fact, the notion that, in the Internet era, data resides in any particular geographic location is otherwise
   in considerable tension with the court's recognition that data today is properly thought of as "stored on
28 the 'cloud.'" Id.
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 1          Given fuat the entire purpose offue second step in a Morrison analysis, fue "focus" :inquiry, is to
 2 detennine whether the subsection in dispute has sufficient domestic contacts to be considered a domestic
 3 application of law, thus avoiding extraterritorial concerns, the Microsoft court placed insufficient weight
 4 on fuese fundamental concepts and, instead, concluded "that the invasion of the customer's privacy takes
 5 place ... where the customer's prot~cted content is accessed- here, where it is seized by Microsoft, acting              I
 6 as an agent of the government." Id. at 216-20. However, even if one were to assume that Section 2703 's
 7 -focus is privacy, any "invas1on of the customer's privacy" occurs when theinformation is disclosed to the
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 8 government in the United States and then searched pursuant to the warrant by investigat9rs in the United
 9 States. As outlined in the attached warrant application, Google is not being asked to conduct a search of

10 the information for evidence of the specified federal offenses. Compare Warrant Attachment B.I                     r




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11 (describing the materials Google is required to disclose), witb Warrant Attac~ent B.ll (describing the             i
12 infqrmation the government may search for and seize). Rather, the search of the disclosed information is
                                                                                                                   i
l3 conducted by the government in fue United States. See In re Warrant, 15 Supp. 3d at 473 ("in the·
14 context of digital information, 'a search occurs when information from or about the data is exposed
15 to possible human observation; such as when it appears on a screen, rather than when it is copied by
16 the hard drive or processed.by the computer."') (citing Orin S. Kerr, Searches and Seizures in a Digital           \':
                                                                                                                   j.
17 World,.119 Harv. L, Rev. 531,551 (2005)). This two-step approach-:J:1rstthe disclosure cif information
18 by a provider, and second, its search by law enforcement - reflects the fact that Google is simply a
                                                                                                                  ). II
19 custodian of certain information the court has determined_ should ultimately be searched by law
                                                                                                                  Il
                                                                                                                   !
20 enforcement for evidence of crime'. See In the Matter of the Search of Information Associated _with
21 [redacted]@mac.com that is Stored at Premises Controlled by Apple, Inc., 13 F. Supp. 3d 157 (D.D.C.
22 2014) (approving of the two-step approach to e-mail search warrants because "[e]nlisting a service
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23 provider to execute the search warrant could also present nettlesome problems"); In th.e .Matter of a
14 Warrant for All Content & Ot~er Info. Associated with the E-mailAccountxxxxxxx gmail.com Maintained .
25 at Premises Controlled By Google, Inc., 33 F. Supp. 3d 386~ 395 (S.D.N.Y. 2014), as amended (Aug. 7,
26 2014) (approving of two-step process in part because "IP]lacing the responsibility for performing these
27 searches on.the e-mail host would also put the host's employees in the position of appearing to act as
28 agents of the. Government vis-a-vis their customers"). In fact, Google has expressed a preference for this
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 1 procedure. In re Search of Google E-mail Accounts, 99 F.Supp. 3d 992 (D. Alaska 2015) (sustaining
 2 Google's objection that it be required under a warrant to search for ''communications with a minor, a
 3 person purporting to be or have access to a minor or which othe1wise related to the 'enticement of a minor
 4 to engage in sexual activity for which any person can be charged with a criminal offense"' on the grounds       \·
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 5 that it was not competent to do so). ·
 6          The role of the provider in disclosing the information to be searched is precisely like the role of
 7 any· party compelled to produce information. Contrary to the Microsoft court's assertion; persons
 8 compelled to testify or produce documents are not deemed to be agents ofthe government simply because
 9 they are compelled to produce information. See, e.g., United States v. Miller, 425 U.S. 435, 443-44 (1976)
10 (finding that b~ responding to subpoena for bank records is not an agent for the go-Vernment, and
11   applying the "general rule that the issuance of a subpoena to a third party to obtain the records of that
12 party does not violate the rights of a defendant, even if a criminal prosecution is contemplated at the time
13   ... the subpoena is issued"). Furthermore, the notion that email providers are just "caretakers" of certain
14 information for which .there is a protecta,ble privacy interest is inapposite because, as discussed above,
15 supra p. 16, the procedures followed here under the SCA meet the Fourth Amendment's reasonableness
16 requirement.
17          Finally, and importantly, the Second Cirouit's application of the p:resumption against
18 extraterritoriality is inconsistent with the very interest that the presumption is meant to serve. As stated
19 by the Supreme Court, the "presumption [against extrate:rritoriality] 'serves to protect against unintended
20 clashes between our laws and those of other nations which could result in international discord.'" Kiobel
21 v. Royal Dutch Petroleum, 133 S. Ct. 1659, 1664 (2013) (citing EEOC v. Arabian American Oil Co.,
22 499 U.S. 244, 248 (1991 )). However, concerns over "international discord" are mitigated by the fact
23 that, as set forth in the next subsection, the United States and 48 other countries have concluded, in
24 connection with the Council of Europe Convention on Cybercrime treaty (the "Cybercrime Convention"
25   or "Convention"), that compelling a person or entity located domestically to produce data that is in its
26 control or custody, regardless oflocation, is.a domestic exercise of power.

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 1                      3. Congress Has Taken Unequivocal Action Confirming That It Believes The SCA
                           Requires Disclosure of Infmmation, Even If Stored Abroad.
 2                                                                                                                       !.
                Action taken by Congress since it enacted the SCA further confirms that Congress intended to             ;
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 3                                                                                                                       I·
     require providers in the United States to disclose information stored elsewhere to United States authorities.       i·
 4
     In 2006, the Senate ratified the Cybercrime Convention, the leading international treaty concerning                 I·
 5
     combatting cybercrime and the collection of electronic evidence.              Article 18 of the Cybercrime          }
 6
     ·Convention requires its signatories to "adopt such legislative and other measures as may be·necessary to
 7
     empower its competent authorities to order .. ; a person in its territory to submit specified computer data
 8
     in that person's possession or control, which is stored in a computer systeni or a computer-data storage
 9
     medium[.]" Cybercrime Convention, Art. 18.1.a.8
10
                The Department of State's interpretation of Article 18, as presented to Congress, was that under
11
     subsection (a), a "person" includes a "third party custodian of data, such as an ISP." See ·Letter of
12
     Submittal at XV ("Under Article 18 authorities must be able to order a person, including third party
13
     custodian of data, such as an ISP [meaning "internet service provider"], to produce data, including
14
     subscriber information, that is in that person's possession or control.") (emphasis added); see also Abbott
15
     11.   Abbott, 560 U.S. l, 15 (2010) (referring to the "well established canon of deference" to the "Executive
16
     Branch's interpretation 9f a treaty") (relying on Sumitomo Shoji America, Inc. v. Avagliano, 457 U.S. 176,
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     185 (1982)); see also Explanatory Report~ 26 (noting that the "term 'service provider' encompasses a
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19
     broad category of persons that play a particular that play a particular rule with regard to communication                ll
     or processing data on computer systems") (emphasis added). Significantly) this provision focuses its


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     territorial limit, "in [the compelling authority's] territory," on the location of the person being ordered,
21
     not Ol). the location of the system or storage medium. Further, the official Explanatory Report transmitte·d
22
23
     to the Senate noted that the use of the term "possession or co11trol" as used in paragraph 1(a) of Article 18            II
24        · 8 In ratifying the Cybercrime Convention, the United States Senate was asked to provide advice
     and consent on a multilateral treaty outlining, inter alia, requirements for.its signatories "to.have the ability
25   to-investigate computer-related crime effectively and to obtain electronic evidence in all types of criminal
     investigations and proceedings." See Letter .of Transmittal to Senate from the President ("Letter of
26   Transmittal") at III, Treaty Doc. 108-11. The signed treaty was submitted to the Senate by then-president
     George W. Bush accompanied by aletter of submittal from the Department of State, signed by Colin L.
27   Powell, along with its "official Explanatory Report, which was also adopted by the [Council of Europe's]
     Committee of Ministers on November 8, 2001." See Letter ofSubmittal to Senate from the Department of
28   State ("Letter of Submittal") at V, Treaty Doc. 108-11.
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 1 of the Cybercrime Convention "refers to physical possession of the data concerned ir1: the ordering Party's
 2 territory, and situations in which the data to be produced is outside of the person's physical possessicm
 3 but the person can nonetheless freely control production of the data from within the ordering Party-'s
 4 territory . ; . .''. See Explanatory ~eport, 173 (emphasis added); see also Letter of Submittal at V .
 5 (specifically referencing the "official Explanatory Report" for review by the Senate). Simply stated, all
 6   of the signatories to the Cybercrime Convention - including the United States - view the production of
 7 data stored abroad, but controllable and accessible from within the signatories' borders, as a domestic act,
 8   and require that domestic legislation exist to ensure each signatory has such power.

 9          When it ratified the Convention, the Senate agreed with the President, the Department of State,
10 and the Department of Justice that federal statutes governing the collection of electronic data - i.e., the
11   SCA - already provided the power required under Article 18. See Letter of Transmittal at ill (with
12 certain reservations and declarations not including Alticle 1 ~. the Cybercrime Treaty "would not require
13   implementing legislation for the United States"); Letter of Submittal at VI ("The Co~vention would not
14 require hnplementing legislation for the United States."); S. Hrg. 108-121 at 9 (testimony of Saflluel M.
15 Witten, Deputy Legal Advisor, U.S. Department of State, before the Senate Committee on Foreign
16 Relations that "[t]he Convention would not require implementing legislation for the United States,,) and
17 27 (testimony of Bruce Swartz, Deputy Assistant Attorney General, Criminal Division, U.S'. Department
18 of Justi_qe, that "the Convention will be implemented in the United States under our existing statutes").          I
19 The Senate Committee on Foreign Relations report specifically notes that Articles 16 through 21 of the
20   Convention require parties to have the ability to "preserve, search, and seize stored computer data" and     lI t
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21   conclude that "(i]t bears emphasis that all of these investigative tools are already provided for under.
22   US, domestic law." Sena:te Executive Report 109-6 (emphasis added).
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23          The Cyberc~e Convention was ratified in 2006, 9 which was wdl after not only the original
                                                                                                                      i
24 enactment of the SCA in 1986, but also its substantial modification in 2001, when Congress deliberately
25 broadened the jurisdiction of courts to issue warrants so that it includes information outside the

26
          9 Indeed, the recency of the Cybercrime Treaty and the resulting view that the SCA need not be
27 amended in order for the United States to fulfill its obligations under it.mitigates the Microsoft court's
   concern that the Act was passed "almost thirty years ago" and that the "teclmological context" was very
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28 differentbackthen. Microsoft, 829F.3dat205-06.                                 .
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 1 jurisdiction of the issuing court (as discussed above). Congress plainly saw no need to amend the Act or
 2 create new legislation to meet the Convention obligations described abovei Moreover, Congress has

· 3 since revisited the SCA to amend it in related ways, but still has not concluded it was necessary to add
 4 any new language or provisions t~ empower courts to compel the disclosure of foreign-stored.data from
 5 domestic providers as required by Article 18. Se~ 123. Stat. 2086 (enacting the Foreign Evidence-
 6 Request Efficiency Act of 2009, which made certain amendments to the SCA designed to address
 7 requests by foreigI: law enforcement with respect to foreign criminal investigations).
 8          Accordingly, there now have been two occasions - :first when the Senate ratified the Cybercrime
 9 Convention, and then when Congress enacted subsequent amendments to the SCA - on which Congress                  ! ~
                                                                                                                        I
1O has acted in a manner consistent with its view that the SCA already gives courts the power to require            i   I
11 U.S. service providers to disclose. information, pursuant to a warrant, in their possession or control,
12 regardless of from where the data must be gathered. This is further and powerful indication that the                 I
13 SCA must be read to a~thorize the production ofinformation domestically, even if stored remotely
14 abroad. Where Congress interprets a prior enactment in the context of the "proceed[ing] formally·
                                                                                                                        I
15 through the legislative process," that :interpretation is entitled to "great weight~ statutory construction.,,       t
16 Consumer Prod. Safety Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 118 n.13 (1980)(explainingRed
17 Lion Broadcasting Co. v. FCC, 395 U.S. 367, 380-81 (1969)); ·commodity Futures Trading Comm 'n v.
18 Schor, 478 U.S. 833, 846 (1986) ("It is well established that when Congress revisits a statute giving rise
19 to a longstanding administrative interpretation without pertinent change, the 'congressional failure to
20 revise or repeal the agency's interpretation is persuasive evidence that the interpretation is the one
21 intended by Congress.»)(quoting NLRBv. Bell Aerospace Co., 416 U.S. 267, 274-75 (1974)); see also
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22 Bell v. New Jersey, 461 U.S. 773, 784~85 (1983) (''Of course, the view of a later Congres$ does not
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                                                                                                                    1· i
23 establish_ definitively the meaning of an earlier enactment, but it does have persuasive value.").                   I
24   n1     GOOGLE FAILED TO COMPLY WITH THE COURT'S ORDER TO PRODUCE THE                                               I
            MATERIALS FORTHWITH, AND SHOULD BE HELD IN CONTEMPT ON THAT BASIS
25
            ALONE
26
            Google did not produce data in a timely fashion, did not move to quash the warrant until five
27
     months after service of the warrant, and simply elected on its own to ignore the scope of the Court's
28
     U.S. OPP. AND MOT. TO SHOW CAUSE
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 1 Order. Its motion to quash the wan·ant is both untimely and unsubstantiated. Forthese reasons, this
 2 Court should order Google to comply with the search warrant order immediately, and issue an order to
 3 show cause for why Google should not be held in contempt. .
 4          Google was properly served a searc~ warrant on July 6, 2016. Production of the data was to be
 5 done by Google "FORTHWITH," according to the Attachments to the Court's Order. Procedurally, if
 6 Google wished to challenge production of certain data, then it should have moved to quash the warrant
 7 upon receipt of the warrant. If Google was following the Microsoft litigation, it would have known that
 8 was the procedure Microsoft followed in the Southern District of New York. Microsoft, at 200-01
 9 (describing procedural history and that Microsoft moved to quash the warrant in a timely fashion).

10 Here, Google has defaulted in making an appropriate production by severely delaying production, and .

11 by ignoring the explicit terms of the search warrant issued by this Court. If Google b~lieved that it was
12 not required to produce all of the data called for by the search warrant, then it should have timely
13 petitioned the Court. Google should be ordered to immediately produce the data at issue, and should be
14 held to answer in a contempt proceeding regardless of whether this Court were to adopt the reasoning of
15 the Second Circuit or not.
16          Google now - :fi:ve months later and following two partial productions - asserts that the Court's
17 Order was overbroad, insufficiently particular, and that probable cause did not exist. Those are
18 judgments reserved for this Honorable Court, not a private citizen or corporation. In any event, Google
19 did not challenge the execution of the warrant in a timely manner. In the event of an improperly issued
20 search warrant or an improperly executed search warrant, the remedy is a subsequent challenge to the          i   I

                                                                                                                 i
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21   admissibility of the evidence obtained by a criminal defendant. The subject of the search warran~-
                                                                                                                 i
22 Google - did not move the Court to quash until five months later and following two incomplete
                                                                                                                !
                                                                                                                l
23 productions of data. If this Court's Order was illegal from its inception, as Google now concludes, then
24 G9ogle should have petitioned the Court rather than making incomplete productions pursuant to an             i    I
                                                                                                                :,Ii
25 Order it deemed unlawful. This conduct, especially in light of Google's prior conduct, should obviously
26 be deemed a contempt of court because Google decided to sua sponte ignore the Court's explicit Order

27 rather than petition the Court to modify or alter the Order in a timely manner.
            The Second qrcu:it' s decision in Microsoft is not binding in the Ninth Circuit. This Court's
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     U.S. OPP. AND MOT. TO SHOW CAUSE
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   1 Order issued prior to that decision, which was announced on the date called for of execution ofthe
   2 warrant in this case. And yet there was no motion to q_uash by Google until five months later. If Google
   3 had previously intended to comply in a timely manner, then it necessarily would have collected the data
   4 - likely collecting it within the United States - to make .the production. If the data was present in the
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         .                                    .
   5 United States on the date of the issuance of the Second Circuit's opinion, or at any point during the
   6 pendency of the warrant, then there this Court need not reach whether the warrant applied to
   7 extraterritorial data. The production should have occurred. If Google did not act to gather the data in an
   8 effort to comply with the search warrant in a timely manner, then it clearly had no intention of
   9 complying with the Court's Order. If so, the late and incomplete production as well as the Motion to

  10 Quash are simply cover for Google's failure to comply with fue warrant on time.
  11          A prolonged hearing over whefuer the Second Circuit was correct is not necessary .in this case
  12 because Google clearly defied the Court's Order, even if this Court eventually agreed with the Second
  13 Circuit. Google should be ordered to produce the responsive data forthwith and required to ·appear to
  14 show why it should not be held in contempt. This Court should also hold a hearing to investigate the
  15 extent, in this case, to which Google has been acting in compliance with the settlement previously
  1(;i reached between-the parties. .
 ·17                                               CONCLUSION
  18          In light of all of the foreg9ing, the United States moves for this Court to (1) order Google to
  19 produce the data responsive to the C~urt's search warrant immediately, (2) issue an Order to Show
  20 Cause to Google, and (3) given the nature of the s-qbject matter, order this pleading and its attachments
  21 be filed under seal.
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       U.S. OPP. AND MOT. TO SHOW CAUSE
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 1 Dated: January 13 > 2017                                          Respectfully submitted,

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                                                                     BRIAN J. STRETCH
 3                                                                   United States Atto~
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                                                                      /:~---
                                                                    /William Frentzen
                                                                     Kathryn Haun
 6                                                                   Merry Jean Chan
                                                                     Assistant United States Attomeys
 7
                                                                     Andrew S. Pak
 8
                                                                     Catherine Alden Pelker
 9                                                                   Trial Attorneys

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11.
              IT IS HEREBY ORDERED, good cause being shown, that this Opposition and Motion to Show
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       Cause, and its attachments, shall be filed under seal until further order of this Court.
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15 Dated:
                                                              HON. LAUREL BEELER
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                                                              U.S. MAGISTRATE JUDGE                      !    l
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       U.S. OPP. AND MOT. TO SHOW CAUSE
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